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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
COMMODITY FUTURES TRADING
COMMISSION,
Case No. 8:19-CV-886-T-33SPF
Plaintiff,

V.

OASIS INTERNATIONAL GROUP,
LIMITED; et al.,

Defendants;
and

MAINSTREAM FUND SERVICES, INC.;
etal.,

Relief Defendants.
/

ORDER APPROVING SALE OF VEHICLES

Before the Court is the Receiver’s Motion For Approval of Sale of Vehicles in the
Receiver’s Possession (the “Motion’’) (Doc. 192). Upon due consideration of the Receiver’s
powers as set forth in the Consolidated Receivership Order (Doc. 177), it is ORDERED AND
ADJUDGED that the Motion is: GRANTED.

The Court finds that the proposed procedures for the sale of the vehicles reflected in the
Motion are in the best interest of the Receivership estate for the reasons detailed in the Motion.
The Court also finds that, to the extent 28 U.S.C. §§ 2001 and 2004 apply to the sale of the vehicles
reflected in the Motion, the Motion includes sufficient grounds for waiving the requirements of 28

U.S.C. § 2001(b) for any additional independent appraisals, notice and hearing, and publication of

the terms of the sale under the discretion afforded this Court by 28 U.S.C. § 2004.
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The Receiver is hereby authorized to sell the certain vehicles identified in the Motion. The
sale of the vehicles shall be free and clear of any and all claims, liens, and encumbrances. In
addition, upon presentation of proper proof of sale and other sufficient identifying documentation,
applicable state motor vehicle regulatory agency(ies) shall issue title to the purchaser(s) of the
vehicles (as more specifically described below):

2015 Ferrari California T Convertible (VIN: ZFF77XJA3F0208054)

2018 Porsche 911 Targa (VIN: WPOBB2A99JS 134720)

2015 Mercedes-Benz SLK 350 Roadster Convertible (VIN: WDDPK5HA8FF099097)
2016 Mercedes-Benz GLE 400 SUV (VIN: 4JGDA5GB5GA622371)

2017 Maserati Ghibli S Q4 (VIN: ZAMS57RTS8H1217171)

2018 Land Rover Range Rover Velar R-Dynamic (VIN: SALYL2RV3JA71 726

DONE and ORDERED in chambers in Tampa, Florida t LY day of

( I strta , 2019, f
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UNITHD STATES wie JUDGE

 

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Counsel of Record
